EXHIBIT 1
                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF MICHIGAN

 KENDRA BAKER individually, and on
 behalf of others similarly situated,                      Case No. 2:21-cv-00073-JTN-MV

                     Plaintiff,                            Hon. Janet T. Neff

 vs.                                                       Mag. Maarten Vermaat

 GLOBAL RESPONSE NORTH
 CORPORATION, a Michigan corporation;
 GLOBAL RESPONSE NORTH LLC, a
 Michigan Limited Liability Company, and
 GLOBAL RESPONSE LLC, a Michigan
 Limited Liability Company,

                     Defendants.


                    JOINT STIPULATION OF CLASS ACTION SETTLEMENT

          IT IS HEREBY STIPULATED, by and between Plaintiff Kendra Baker, on behalf of

herself, and the Settlement Class Members, on the one hand, and Defendants Global Response

North Corporation, Global Response North, LLC, and Global Response, LLC, on the other hand,

and subject to the approval of the Court, that the above-captioned civil action (the “Action”) is

hereby being compromised and settled pursuant to the terms and conditions set forth in this Joint

Stipulation of Class Action Settlement and that the Court shall make and enter judgment, subject

to the continuing jurisdiction of the Court as set forth below, subject to the definitions, recitals and

terms set forth herein which by this reference become an integral part of this Agreement:

                                            DEFINITIONS

          1.        “Agreement” means this Joint Stipulation of Class Action Settlement.

          2.        “Action” means Kendra Baker v. Global Response North Corporation, Global

Response North, LLC, and Global Response, LLC, which is currently pending in the United States

District Court for the Western District of Michigan, and assigned Civil Action No. 2:21-cv-00073-

JTN-MV.


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       3.      “Class Counsel” means the law firms of Sommers Schwartz, P.C.

       4.      “Class Counsel Award” means attorneys’ fees for Class Counsel’s litigation and

resolution of this Action and their expenses and costs incurred in connection with the Action, paid

from the Gross Settlement Fund.

       5.      “Class Information” means information regarding Class Members that Defendants

will compile in good faith from their records and provide to the Settlement Administrator. The

Class Information shall be formatted as a Microsoft Excel spreadsheet and shall include: (a) each

Class Member’s employee number; (b) full name; (c) last known address; (d) last known home

telephone number; (e) Social Security Number; and (f) pay periods worked during the Class Period

as an hourly Customer Service Representative employee of Defendants. The Class Information is

confidential, and the Settlement Administrator may not disclose the Class Information to any

person, except as required by law or the provisions of this Agreement.

       6.      “Class Members” means all current and former hourly Customer Service

Representatives who worked for Defendants in Michigan at any time from July 12, 2018 through

January 21, 2021.

       7.      “Class Period” means the period from July 12, 2018 through January 21, 2021.

       8.      “Class Representative Service Award” means the amount that the Court authorizes

to be paid to Plaintiff Kendra Baker, in addition to her Individual Settlement Amount, in

recognition of her efforts and risks in assisting with the prosecution of the Action and in exchange

for executing a General Release.

       9.       “Court” means the United States District Court for the Western District of

Michigan.

       10.     “Defendants” means Global Response North Corporation, Global Response North,

LLC, and Global Response, LLC.

       11.     “Defense Counsel” or “Counsel for Defendant” shall mean Clark Hill, PLC.

       12.     “Effective Date” means the latest of the following dates: (i) the 31st day after the

date upon which the Court grants final approval of the Settlement if no Settlement Class members

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file objections to the Settlement; or (ii) if a Settlement Class Member files an objection to the

Settlement, the Effective Date shall be the date 31 days after the date upon which the Court grants

final approval of the Settlement if no appeal is initiated by an objector; or (iii) if a timely appeal is

initiated by an objector, the Effective Date shall be the date of final resolution of that appeal

(including any requests for rehearing and/or petitions for certiorari), resulting in final judicial

approval of the Settlement.

        13.     “FLSA Claim” means the claims alleged in this case under the Fair Labor Standards

Act for unpaid overtime.

        14.     “FLSA Settlement Payment” means the amount payable from the Net Settlement

Amount to each Settlement Class Member for resolution of the FLSA Claim, which comprises a

portion (44%) of the Individual Settlement Amount.

        15.     “Gross Settlement Fund” means $400,000.00, which sum includes the Individual

Settlement Amount (including all required withholdings from Individual Settlement Amount),

Class Counsel Award, Class Representative Service Awards, Settlement Administration Costs,

employee employment taxes and contributions, and interest. This is a non-reversionary settlement.

In addition to the $400,000.00 Gross Settlement Fund, Defendants shall be responsible for paying

any lawfully required employer share of payroll taxes.

        16.     “Individual Settlement Amount” means the total amount payable from the Net

Settlement Amount to each Settlement Class Member to resolve all claims, including the FLSA

Claim. This will be paid in two checks: one paying for the FLSA Settlement Payment, and the

other paying for resolution of all other claims.

        17.     “Net Settlement Amount” means the Gross Settlement Fund, less Class Counsel

Award, Class Representative Service Awards, and Settlement Administration Costs.

        18.     “Notice of Settlement” and “Settlement Notice” means the Notice of Class Action

Settlement substantially in the form attached hereto as Exhibit A.

        19.     “Notice Packet” means the Notice of Settlement, Request for Exclusion Form, and

self-addressed, stamped envelope for return to the Settlement Administrator.

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       20.     “Opt-in Plaintiff” means any Settlement Class Member that filed a timely consent

to join form in the Action.

       21.      “Parties” means Plaintiff and Defendants, collectively, and “Party” shall mean

either Plaintiff or Defendants, individually.

       22.     “Plaintiff” means Kendra Baker.

       23.     “Released Claims” means all failure to pay wage claims that have been alleged or

that could have been alleged in the Action including all of the following claims for relief: (a) that

Defendants failed to pay and/or properly calculate all wages due, including the regular rate of pay,

straight time, overtime, double-time, premium pay, minimum wages, and all other forms of wages;

(b) that Defendants failed to provide compliant meal periods and/or proper premium payments in

lieu thereof; (c) that Defendants failed to provide compliant rest breaks and/or proper premium

payments in lieu thereof; (d) that Defendants failed to maintain required records; (e) that

Defendants owe other monies or penalties under the wage and hour laws pleaded in the Action or

that could have been pleaded in the action; and (f) that Defendants are responsible for the payment

damages, penalties, interest and other amounts recoverable under said causes of action alleged in

the Action, including without limitation the following claims based on or reasonably relating to

claims asserted or alleged in the action: claims for unpaid wages (including claims for regular

wages, overtime, regular rate calculations, gap time, off-the-clock or unpaid time, breaks), under

the Fair Labor Standards Act, 29 U.S.C. §201, et seq., state wage and hour laws, and state common

law breach of contract and unjust enrichment theories. The Released Claims also include all claims

Plaintiff, Opt-In Plaintiffs and the Settlement Class Members may have against the Released

Parties relating to (i) the payment and allocation of attorneys’ fees and costs to Class Counsel

pursuant to this Agreement and (ii) the payment of the Class Representative Service Award

pursuant to this Agreement. The period of the Release shall be from the commencement of the

Class Period, as defined above, to July 13, 2021, the date of conditional certification (“Covered

Period”).

       24.     “Released Parties” means Defendants as named in the Action, and their affiliates

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and related entities, including, without limitation, their parents and subsidiaries, predecessors,

successors, divisions, joint ventures and assigns, clients, and each of their past, present and/or

future direct and/or indirect directors, officers, employees, partners, members, investors,

principals, agents, insurers, co-insurers, re-insurers, shareholders, administrators, parent

companies, subsidiaries, affiliates, divisions, predecessors, successors, assigns, attorneys and

personal or legal representatives.

        25.     “Request for Exclusion” means the Request for Exclusion Form substantially in the

form attached as Exhibit B.

        26.     “Response Deadline” means the date 45 days after the Settlement Administrator

mails Notices to Settlement Class Members and is the last date on which Settlement Class

Members may submit a Request for Exclusion and/or objection to the Settlement.

        27.     “Settlement” means the disposition of the Action pursuant to this Agreement.

        28.     “Settlement Administration Costs” means the amount to be paid to the Settlement

Administrator from the Gross Settlement Fund for administration of this Settlement.

        29.     “Settlement Administrator” means Rust Consulting.

        30.     “Settlement Class Members” means all current and former hourly Customer

Service Representatives who worked for Defendants in Michigan at any time from July 12, 2018

through through January 21, 2021, and who did not submit a timely and valid Request for

Exclusion as provided in this Agreement.

                                              RECITALS

        31.     Class Certification. The Parties stipulate and agree to the certification of this

Action for purposes of this Settlement only. Should the Settlement not become final and effective

as herein provided, class certification shall immediately be revoked without prejudice and the

Settlement Class immediately decertified (subject to further proceedings on motion of any party

to certify or deny certification thereafter). The Parties’ willingness to stipulate to class certification

as part of the Settlement shall have no bearing on, and shall not be admissible in or considered in

connection with, the issue of whether a class should be certified in a non-settlement context in this

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Action and shall have no bearing on, and shall not be admissible or considered in connection with,

the issue of whether a class should be certified in any other lawsuit.

       32.     Procedural History. On April 14, 2021, Plaintiff Kendra Baker filed a putative class

action Complaint against Defendants alleging claims for violations of the Fair Labor Standards

Act (“FLSA”), 29 U.S.C. § 201, et seq. (Count I), for breach of contract (Count II), and Unjust

Enrichment (Count III).

       33.     On May 28, 2021, Defendants filed an Answer which largely denied the allegations

in Plaintiff’s Complaint and which asserted their affirmative defenses. Shortly thereafter, the

Parties’ met and conferred regarding Plaintiff’s planned motion for conditional certification,

pursuant to 29 U.S.C. § 216(b). The discussions regarding the conditional certification involved

negotiations that spanned several days and involved exchanging numerous drafts of proposed

notice forms, orders, and other materials relative to conditional certification and notice. Ultimately,

the parties reached an agreement and on July 13, 2021, the Court entered the parties’ proposed

order conditionally certifying the FLSA collective and authorizing Court-supervised notice to the

Class Members.

       The stipulated order entered by the Court also called for a private mediation at the

conclusion of the 60-day opt-in period. Immediately after notice was issued, the Parties began

informal discovery and Defendants provided payroll and employment data required to evaluate the

claims of the Class Members. Upon receipt of the payroll and employment data, the Parties each

prepared a comprehensive damage analysis ahead of their mediation.

       On November 9, 2021, the Parties attended a private mediation with well-respected

mediator Donald Gasiorek. After several hours, the Parties had not come to an agreement and both

requested a mediator’s proposal. Two days after receiving the mediator’s proposal, the case settled

in its entirety when both Parties elected to accept the mediator’s proposal.

       After the mediation resulted in the Parties’ agreeing to settle the claims alleged in the

Action, the Parties began negotiating the final terms of their agreement, which are set forth herein.

All terms are subject to Court approval. As a result, the Parties came to an agreement on material

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terms to resolve the Action in its entirety.

       34.     Benefits of Settlement to Class Members. Plaintiff and Class Counsel recognize the

expense and length of continued proceedings necessary to litigate their disputes through trial and

through any possible appeals. Plaintiff has also taken into account the uncertainty and risk of the

outcome of further litigation, and the difficulties and delays inherent in such litigation. Plaintiff

and Class Counsel are also aware of the burdens of proof necessary to establish liability for the

claims asserted in the Action, both generally and in response to Defendants’ defenses thereto, and

the difficulties in establishing damages for the Settlement Class Members. Plaintiff and Class

Counsel have also taken into account the extensive settlement negotiations conducted. Based on

the foregoing, Plaintiff and Class Counsel have determined that the Settlement set forth in this

Agreement is a fair, adequate and reasonable settlement, and is in the best interests of the

Settlement Class Members.
       35.     Defendants’ Reasons for Settlement. Defendants have concluded that any further

defense of this litigation would be protracted and expensive for all Parties. Substantial amounts of

time and resources of Defendants have already been expended and without settlement, additional

resources would be expended in defending against the claims asserted by Plaintiff and Settlement

Class Members. Defendants have also weighed the risks of further litigation in reaching their

decision to enter into this Settlement and the benefits of resolving the matter without further

resource expenditure. Defendants continue to contend that they are not liable for any of the claims

set forth by Plaintiff Settlement Class Members, but have nonetheless agreed to settle in the manner

and upon the terms set forth in this Agreement to put to rest the claims as set forth in the Action

and those which could have been brought as part of this Action, as aforementioned. Defendants

have claimed and continue to claim that the Released Claims have no merit and do not give rise to

liability. This Agreement is a compromise of disputed claims. Nothing contained in this

Agreement, no documents referred to herein and no action taken to carry out this Agreement may

be construed or used as an admission by or against Defendants as to the merits or lack thereof of

the claims asserted.

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       36.     Settlement Class Members’ Claims. Settlement Class Members have claimed and

continue to claim that the Released Claims have merit and give rise to liability on the part of

Defendants. This Agreement is a compromise of disputed claims. Nothing contained in this

Agreement, no documents referred to herein and no action taken to carry out this Agreement may

be construed or used as an admission by or against the Settlement Class Members or Class Counsel

as to the merits or lack thereof of the claims asserted.

                                TERMS OF THE AGREEMENT

       37.     Release As To All Settlement Class Members. As of the Effective Date, in
exchange for the Gross Settlement Fund, Settlement Class Members release the Released Parties

from their Released Claims for the Covered Period. Plaintiff, Opt-In Plaintiffs and the Settlement

Class Members may hereafter discover facts or legal arguments in addition to or different from

those they now know or currently believe to be true with respect to the claims and causes of action

in this Action and that are the subject matter of the Released Claims. Regardless, the discovery of

new facts or legal arguments shall in no way limit the scope or definition of the Released Claims,

and by virtue of this Agreement Plaintiff, Opt-In Plaintiffs and the Settlement Class Members shall

be deemed to have, and by operation of the final judgment approved by the Court, shall have, fully,

finally, and forever settled and released all of the Released Claims as defined above.

       38.     General Release (As to Plaintiff Only). In exchange for the consideration set forth

in this Agreement, Plaintiff, for herself and her heirs, successors and assigns, does hereby waive,

release, acquit and forever discharge the Released Parties, from any and all claims, actions,

charges, complaints, grievances and causes of action, of whatever nature, whether known or

unknown, that exist or may exist on Plaintiff’s behalf as of the date of this Agreement, including

but not limited to any and all tort claims, contract claims, wage claims, statutory claims, personal

injury claims, emotional distress claims, invasion of privacy claims, defamation claims, fraud

claims, quantum meruit claims, and any and all claims arising under any federal, state or other

governmental statute, law, regulation or ordinance, including, but not limited to claims for

violation of the Fair Labor Standards Act, the Improved Workforce Opportunity Wage Act

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(IWOWA), other state wage and hour laws, the Michigan Elliott-Larsen Civil Rights Act

(ELCRA), the Bullard-Plawecki Employee Right to Know Act, the Americans with Disabilities

Act, the Age Discrimination in Employment Act (ADEA), the Employee Retirement Income

Security Act, Title VII of the Civil Rights Act of 1964, the Family Medical Leave Act, and any

and all claims arising under any federal, state or other governmental statute, law, regulation or

ordinance.

       Plaintiff may hereafter discover claims or facts in addition to, or different from, those

which she now knows or believes to exist, but she expressly agrees to fully, finally and forever

settle and release any and all claims against the Released Parties, known or unknown, suspected

or unsuspected, that exist or may exist at the time of executing of this Agreement, including, but

not limited to, any and all claims relating to or arising from Plaintiff’s employment with

Defendants. The Parties further acknowledge, understand and agree that this representation and

commitment is essential to the Agreement and that this Agreement would not have been entered

into were it not for this representation and commitment.

       39.     Tax Liability. The Parties and their counsel make no representations as to the tax
treatment or legal effect of the payments called for hereunder, and Settlement Class Members are

not relying on any statement or representation by the Parties in this regard. Settlement Class

Members understand and agree that they will be responsible for the payment of any employee

taxes and penalties assessed on the payments described herein and will hold the Parties free and

harmless from and against any claims, liabilities, costs and expenses, including attorneys’ fees,

resulting in any way from personal tax treatment of the payments made pursuant to this Agreement,

including the treatment of such payments as not subject to withholding or deduction for payroll

and employment taxes. In the event any taxing authority looks to Defendants for payment of taxes,

interest or penalties in connection with the Individual Settlement Amounts made pursuant to this

Agreement (excepting only Defendant’s share of employer payroll taxes and other required

employer withholdings), Settlement Class Members agree to indemnify and hold Defendants



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harmless from payment of any such taxes, interest, penalties or other expenses incurred in

connection with such payments.

       40.     Circular 230 Disclaimer. Each Party to this Agreement (for purposes of this

section, the “acknowledging party” and each Party to this Agreement other than the acknowledging

party, an “other party”) acknowledges and agrees that: (1) no provision of this Agreement, and no

written communication or disclosure between or among the Parties or their attorneys and other

advisers, is or was intended to be, nor shall any such communication or disclosure constitute or be

construed or be relied upon as, tax advice within the meaning of United States Treasury

Department Circular 230 (31 CFR part 10, as amended); (2) the acknowledging party (a) has relied

exclusively upon his, her or its own, independent legal and tax counsel for advice (including tax

advice) in connection with this Agreement, (b) has not entered into this Agreement based upon the

recommendation of any other Party or any attorney or advisor to any other Party, and (c) is not

entitled to rely upon any communication or disclosure by any attorney or advisor to any other party

to avoid any tax penalty that may be imposed on the acknowledging party; and (3) no attorney or

advisor to any other Party has imposed any limitation that protects the confidentiality of any such

attorney’s or advisor’s tax strategies (regardless of whether such limitation is legally binding) upon

disclosure by the acknowledging party of the tax treatment or tax structure of any transaction,

including any transaction contemplated by this Agreement.

       41.     Settlement Administration. No more than 14 calendar days after the Court grants

preliminary approval of this Agreement, Defendants shall provide the Settlement Administrator

with the Class Information for purposes of mailing Notice Packets to Class Members.

               a.      Notice By First Class U.S. Mail and E-Mail. Upon receipt of the Class

Information, the Settlement Administrator will perform a search based on the National Change of

Address Database to update and correct any known or identifiable address changes. No more than

14 calendar days after receiving the Class Information from Defendants as provided herein, the

Settlement Administrator shall mail copies of the Notice Packet to all Class Members by regular

First Class U.S. Mail and e-mail (to the extend Defendants have valid email addresses for the Class

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Members). The Settlement Administrator shall exercise its best judgment to determine the current

mailing address for each Class Member. The address identified by the Settlement Administrator

as the current mailing address shall be presumed to be the best mailing address for each Class

Member. It will be conclusively presumed that, if an envelope so mailed has not been returned

within 20 days of the mailing, the Settlement Class Member received the Settlement Notice.

               b.      Undeliverable Notices. Any Notice Packets returned to the Settlement

Administrator as non-delivered on or before the Response Deadline shall be re-mailed to the

forwarding address affixed thereto. If no forwarding address is provided, the Settlement

Administrator will make reasonable efforts to obtain an updated mailing address within five

business days of the date of the return of the Settlement Notices. If an updated mailing address is

identified, the Settlement Administrator will resend the Settlement Notices to the Settlement Class

Member. Settlement Class Members to whom Settlement Notices are resent after having been

returned undeliverable to the Settlement Administrator will have 14 calendar days thereafter or

until the Response Deadline has expired, whichever is later, to mail, fax or email the Request for

Exclusion. Settlement Notices that are resent will inform the recipient of this adjusted deadline.

The date of the postmark on the Request for Exclusion, either based on the date on the return

envelope, the date of the fax stamp, or the date of the email transmission, will be the exclusive

means used to determine whether a Settlement Class Member has timely returned his/her Request

for Exclusion on or before the adjusted deadline. A Request for Exclusion will be deemed valid

only if it is signed by the Settlement Class Member and postmarked, faxed, or email stamped on

or before the adjusted deadline. If a Settlement Class Member’s Settlement Notice is returned to

the Settlement Administrator more than once as non-deliverable, then an additional Settlement

Notice will not be re-mailed. The objection deadline shall not be extended for any reason, including

non-receipt or delayed receipt of the Notice Packet.

               c.      Notice Packets. The Notice Packets, substantially in the form attached as

Exhibits A and B, shall list the number of pay periods worked by the Class Member during the

Covered Period and the estimated Individual Settlement Amounts for each respective Class

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Member.

               d.      Disputes Regarding Individual Settlement Amounts. Class Members will

have the opportunity, should they disagree with Defendants’ records regarding the number of pay

periods worked stated on their Settlement Notices, to provide documentation and/or an explanation

to show contrary pay periods worked. Class Members must inform the Settlement Administrator

within 20 days of the postmark of the Settlement Notice if they dispute the number of pay periods

worked as stated in the Settlement Notice. The written dispute must be referred to as a “Dispute”

and must: (a) state the class member’s name, address, telephone number, and last four digits of his

or her social security number; (b) be signed by the class member; (c) state the information the class

member is challenging; (d) state his or her belief as to the correct number of pay periods worked;

(e) explain why the class member believes Defendants’ records are mistaken and attach any

documents or evidence in support of his/her contentions; (f) be postmarked, faxed, or emailed

within twenty (20) days of the postmark of the Settlement Notice; (g) returned to the Settlement

Administrator. If there is a dispute, the Settlement Administrator will consult with Class Counsel

and Defense Counsel to determine whether an adjustment is warranted. The Settlement

Administrator shall determine the eligibility for, and the amounts of, any Individual Settlement

Amount under the terms of this Agreement. The Settlement Administrator’s determination of the

eligibility for and amount of any Individual Settlement Amount shall be binding upon the

Settlement Class Member and the Parties. Defendants’ records will be presumed correct unless the

class member provides documentation that shows Defendants’ records are incorrect.

               e.      Disputes Regarding Administration of Settlement.          Any disputes not

resolved by the Settlement Administrator concerning the administration of the Settlement will be

resolved by the Court under the laws of the State of Michigan. Prior to any such involvement of

the Court, counsel for the Parties will confer in good faith to resolve the disputes without the

necessity of involving the Court.

               f.      Exclusions. Class Members who wish to exclude themselves from the

Settlement must submit a Request for Exclusion to the Settlement Administrator by the Response

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Deadline. The Request for Exclusion will not be valid if it is not timely submitted, if it is not signed

by the Settlement Class Member, or if it does not contain the name and address of the Class

Member. The date of the postmark on the return mailing envelope, fax stamp, or date of the email

transmission on the Request for Exclusion shall be the exclusive means used to determine whether

the Request for Exclusion was timely submitted. Any Class Member who requests to be excluded

from the Settlement Class will not be entitled to any recovery under the Settlement and will not be

bound by the terms of the Settlement or have any right to object, appeal or comment thereon. Class

Members who fail to submit a valid and timely Request for Exclusion on or before the Response

Deadline shall be bound by all terms of the Settlement and any final judgment entered in this

Action if the Settlement is approved by the Court. No later than 10 calendar days after the Response

Deadline, the Settlement Administrator shall provide Defense Counsel with a final list of the Class

Members who have timely submitted written Requests for Exclusion and Class Counsel with a

final list of identifying employee identification numbers (but not names) of Class Members who

have timely submitted a Request for Exclusion. Defense Counsel will provide those names to be

noted on the order or judgment. At no time shall any of the Parties or their counsel seek to solicit

or otherwise encourage Class Members to submit Requests for Exclusion from the Settlement.

Class Counsel and Defendants reserve the right to encourage Class Members to participate in the

Settlement.

                g.      Objections. The Notice Packet shall state that Class Members who wish to

object to the Settlement must mail to the Settlement Administrator a written statement of objection

(“Notice of Objection”) by the Response Deadline. No extensions of time for the submission of

objections will be given for any reason. The postmark date shall be deemed the exclusive means

for determining that a Notice of Objection was filed and served timely. The Notice of Objection

must be signed by the Class Member and state: (1) the full name of the Class Member; (2) the

number of pay periods worked by the Class Member; (3) the last four digits of the Class Member’s

Social Security number and/or the Employee ID number; (4) the name and case number of the

Action; and (5) the factual and legal basis for the objection with any supporting documents and

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evidence. Class Members who fail to make objections in the manner specified above shall be

deemed to have waived any objections and shall be foreclosed from making any objections

(whether by appeal or otherwise) to the Settlement. Class Members who timely object will have a

right to appear at the Final Approval/Settlement Fairness Hearing in order to have their objections

heard by the Court. At no time shall any of the Parties or their counsel seek to solicit or otherwise

encourage Class Members to file or serve written objections to the Settlement or appeal from the

Order and Final Judgment. Class Counsel shall not represent any Settlement Class Members with

respect to any such objections. The Settlement Administrator shall e-mail any objections to counsel

for the Parties promptly upon receipt, and Class Counsel shall lodge any objections with the Court.

      42.      Funding and Allocation of Gross Settlement Fund. This is a non-reversionary
Settlement in which Defendants are required to pay the entirety of the Gross Settlement Fund,

which includes Individual Settlement Amounts, the Class Representative Service Awards, the

Class Counsel Award, the Settlement Administration Costs. No amount of the Gross Settlement

Fund will revert to Defendants. No more than 7 calendar days after the Effective Date, Defendants

shall provide the Gross Settlement Fund to the Settlement Administrator to fund the Settlement,

as set forth in this Agreement. Defendants shall have the option in their sole discretion to provide

the Gross Settlement Fund, or any portion thereof, to the Settlement Administrator at an earlier

time or at earlier times without any pre-payment penalty. Any pre-payment by Defendants of the

Gross Settlement Fund does not constitute a breach of this Agreement.

               a.      Individual Settlement Amounts. Individual Settlement Amounts will be

paid from the Net Settlement Amount and shall be paid pursuant to the settlement formula set forth

herein. Individual Settlement Amounts for Settlement Class Members will be mailed by regular

First Class U.S. Mail to Settlement Class Members’ last known mailing address within 14 calendar

days after the Settlement Administrator receives the entire amount of the Gross Settlement Fund

for disbursement under this Agreement. Individual Settlement Amounts will be allocated as

follows: 50% as wages; 50% as liquidated damages. The Settlement Administrator will be

responsible for issuing a form W-2 for the amount deemed wages and an IRS Form 1099 for the

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portions allocated to liquidated damages. Any checks issued to Settlement Class Members will

remain valid and negotiable for one hundred and 180 days from the date of their issuance. After

that time, any such uncashed checks will be paid to Legal Aid and Defender Association, Inc. (See,

https://ladadetroit.org/).

                b.      Calculation of Individual Settlement Amounts.               The Settlement

Administrator will calculate the total amount that each Settlement Class Member will receive. The

Settlement Administrator will divide the Net Settlement Fund by the total number of pay periods

Settlement Class Members were employed (“Pay Period Amount”). The Settlement Administrator

will multiply the Pay Period Amount by the total number of pay periods that each Settlement Class

Member was employed during the Class Period to arrive at an estimated Individual Settlement

Amount.
                c.      FLSA Opt-In. A portion of the Individual Settlement Amount will be

allocated toward resolution of the FLSA Claims. This payment is defined above as the FLSA

Settlement Payment and shall constitute 42.5 percent of the Individual Settlement Amount for each

Class Member, as that percentage reflects the percentage of shifts that involved overtime for the

Class Members according to Class Counsels’ calculations. The back of all FLSA Settlement

Payment checks will provide that Class Members who endorse their FLSA Settlement Payment

check by signing the back of the check and depositing or cashing the check will opt into the FLSA

Release. Those who do not wish to opt in may simply refrain from depositing this sum, and this

sum shall then be paid to the Cy Pres beneficiary, which for this Settlement will be Legal Aid of

Western Michigan. See, https://lawestmi.org.

        Specifically, each check shall be affixed with the following endorsement:

        By cashing this check, you are releasing any and all claims, rights, causes of action
        and liabilities, whether known or unknown, for any and all types of relief under the
        Fair Labor Standards Act, including without limitation, claims for failure to pay
        minimum wage, overtime, and for all hours worked, and any and all claims for
        recovery of compensation, overtime pay, minimum wage, liquidated damages,
        interest, and/or penalties tied to such claims, that arose or accrued at any time from
        July 12, 2018 through July 13, 2021, arising from your employment with Global

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       Response. Your release does not include, however, any claims, rights, causes of
       action or liabilities that cannot be released as a matter of law.
               d.      Class Representative Service Award. Defendants agree not to oppose or

object to any application or motion by Plaintiff for a Class Representative Service Award for the

Named Plaintiff, Kendra Baker, in the amount of $4,000.00, for her time and effort in bringing and

prosecuting this matter in exchange for the Released Claims and a General Release. The Class

Representative Service Award shall be paid to Plaintiff from the Gross Settlement Fund no later

than 14 calendar days after the Settlement is fully funded. Any portion of the requested Class

Representative Service Award that is not awarded to the Plaintiff shall be part of the Net Settlement

Amount and shall be distributed to Settlement Class Members as provided in this Agreement. The

Settlement Administrator shall issue an IRS Form 1099-MISC to Plaintiff and Opt-In Plaintiffs for

their Class Representative Service Awards. Plaintiff shall be solely and legally responsible to pay

any and all applicable taxes on her Class Representative Service Awards and shall hold harmless

Defendants from any claim or liability for taxes, penalties, or interest arising as a result of the

Class Representative Service Award. The Class Representative Service Award shall be in addition

to the Plaintiff’s Individual Settlement Amount as a Settlement Class Member. In the event that

the Court reduces or does not approve the requested Class Representative Service Award, Plaintiff

shall not have the right to revoke or renegotiate the Settlement, or file an appeal, and it will remain

binding.

               e.      Class Counsel Award.        By way of motion, Class Counsel shall seek

attorneys’ fees not to exceed 33-1/3% of the Gross Settlement Fund, plus reimbursement of actual

litigation costs and expenses incurred by Class Counsel in prosecuting the Action, as may be

supported by a declaration from Class Counsel. Even in the event that the Court reduces or does

not approve the requested Class Counsel Award, Class Counsel shall not have the right to revoke

this Agreement, and it will remain binding. Any portion of the requested Class Counsel Award

that is not awarded to Class Counsel shall be treated as part of the Net Settlement Amount and

shall be distributed among Settlement Class Members as provided in this Agreement. The Class



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Counsel Award shall be paid to Class Counsel from the Gross Settlement Fund no later than 3

calendar days after the Settlement is fully funded. The Settlement Administrator will issue to

Sommers Schwartz, P.C., a Form 1099 with respect to the awarded Class Counsel Award. Class

Counsel shall be solely and legally responsible to pay all applicable taxes on the payment made

pursuant to this paragraph. Class Counsel shall retain the right to appeal any award by the Court

for attorneys’ fees that does not equal 33-1/3% of the Gross Settlement Fund. The difference

between the amount awarded and the amount disputed on appeal shall be retained by the Settlement

Administrator pending Class Counsel’s appeal. Interest shall accrue on the retained amount at the

legal interest rate. If Class Counsel’s appeal is unsuccessful, any money not awarded to Class

Counsel in the possession of the Settlement Administrator along with interest shall be distributed

to the Settlement Class Members and Class Counsel shall pay any additional costs, interests, or

fees incurred by the Settlement Administrator for this purpose.
               f.      Settlement Administration Costs. The Settlement Administrator shall be

paid for the costs of administration of the Settlement from the Gross Settlement Fund. The

estimate of such costs of administration for the disbursement of the Gross Settlement Fund is

approximately $15,000. No fewer than 21 calendar days prior to the Final Approval

Hearing/Settlement Fairness Hearing, the Settlement Administrator shall provide the Parties with

a statement detailing the costs of administration of this Settlement. The Settlement Administrator

shall be paid the Settlement Administration Costs no later than 14 calendar days after Defendants

provide funds to the Settlement Administrator for disbursement under this Agreement. The

Settlement Administrator, on Defendants’ behalf, shall have the authority and obligation to make

payments, credits and disbursements, including payments and credits in the manner set forth

herein, to Settlement Class Members calculated in accordance with the methodology set out in this

Agreement and orders of the Court.

               g.      The Parties agree to cooperate in the Settlement administration process and

to make all reasonable efforts to control and minimize the cost and expenses incurred in

administration of the Settlement. The Parties each represent they do not have any financial interest

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in the Settlement Administrator or otherwise have a relationship with the Settlement Administrator

that could create a conflict of interest.

                h.      The Settlement Administrator shall be responsible for: processing and

mailing payments to Plaintiff and Opt-In Plaintiffs (confirmation of payment mailed to Plaintiff

and Opt-In Plaintiffs shall be communicated to Class Counsel by the Settlement Administrator),

Class Counsel, and Settlement Class Members; printing and mailing the Settlement Notices to the

Class Members as directed by the Court; receiving and reporting the Requests for Exclusion

submitted by Class Members; deducting taxes from Individual Settlement Payments and

distributing tax forms; processing and mailing tax payments to the appropriate state and federal

taxing authorities; providing declaration(s) as necessary in support of preliminary and/or final

approval of this Settlement; and other tasks as the Parties mutually agree or the Court orders the

Settlement Administrator to perform. The Settlement Administrator shall keep the Parties timely

apprised of the performance of all Settlement Administrator responsibilities. No later than 10

calendar days after the Response Deadline, the Settlement Administrator shall provide counsel for

the Parties with a final accounting of the Gross Settlement Fund and report the amount of all

payments to be made to each Settlement Class Member by employee number only.

                i.      No person shall have any claim against Defendants, Plaintiff or Opt-In

Plaintiffs, Settlement Class Members, Class Counsel, Defense Counsel or the Settlement

Administrator based on distributions and payments made in accordance with this Agreement.

        43.     Option to Terminate Settlement. If, after the Response Deadline and before the

Final Approval/Settlement Fairness Hearing, the number of Class Members who submitted

timely and valid Requests for Exclusion from the Settlement is ten percent (10%) or more of

all Class Members, Defendants shall have the right, in their sole discretion, to revoke this

Settlement and stipulation to class certification. If Defendants exercise the option to terminate

this Settlement, Defendants shall: (a) provide written notice to Class Counsel within 15

calendar days after the Response Deadline; and (b) pay the Settlement Administration Costs

incurred up to the date or as a result of the termination. If Defendants exercise their right to

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terminate the Settlement under this Paragraph, the Parties thereafter shall proceed in all

respects as if this Agreement had not been executed.

       If the actual number of Class Members exceeds the amount of Class Members

identified by Defendants for purposes of mediation (470) by ten percent (10%) or more,

Plaintiff shall have the sole and absolute discretion to terminate the Settlement.

       44.    Final Settlement Approval Hearing and Entry of Final Judgment.             Upon

expiration of the Response Deadline, if determined to be necessary in the Court’s discretion,

a Final Approval/Settlement Fairness Hearing shall be conducted to determine final approval

of the Settlement along with the amount properly payable for (i) the Class Counsel Award,

(ii) the Class Representative Service Awards, (iii) Individual Settlement Payments, and (iv)

the Settlement Administration Costs. After granting final approval, the Court shall retain

jurisdiction over the Parties to enforce the terms of the judgment.
       45.    Nullification of Settlement Agreement. In the event: (i) the Court does not

grant preliminary approval; (ii) the Court does not grant final approval; (iii) the Court does

not enter a final judgment as provided herein; or (iv) the Settlement does not become final for

any other reason, this Settlement Agreement shall be null and void and any order or judgment

entered by the Court in furtherance of this Settlement shall be treated as void from the

beginning. In such a case, the Parties and any funds to be awarded under this Settlement shall

be returned to their respective statuses as of the date and time immediately prior to the

execution of this Agreement, and the Parties shall proceed in all respects as if this Agreement

had not been executed, except that any costs already incurred by the Settlement Administrator

shall be paid by equal apportionment among the Parties. In the event an appeal is filed from

the Court’s final judgment, or any other appellate review is sought, administration of the

Settlement shall be stayed pending final resolution of the appeal or other appellate review,

but any fees incurred by the Settlement Administrator prior to its being notified of the filing

of an appeal from the Court’s Final Judgment, or any other appellate review, shall be paid to

the Settlement Administrator within thirty (30) days of such notification.

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       46.    No Effect on Employee Benefits. Amounts paid to Plaintiff or other Settlement

Class Members pursuant to this Agreement shall be deemed not to be pensionable earnings

and shall not have any effect on the eligibility for, or calculation of, any of the employee

benefits (e.g., vacations, holiday pay, retirement plans, etc.) of the Plaintiff or Settlement

Class Members.

       47.    No Admission by the Parties. Defendants deny any and all claims alleged in

this Action and deny all wrongdoing whatsoever. This Agreement is not a concession or

admission, and shall not be used against Defendants as an admission or indication with respect

to any claim of any fault, concession or omission by Defendants.
       48.    Motions for Preliminary and Final Approval. The Parties and their counsel will

cooperate with one another and use their best efforts to effect the Court’s approval of the

Motions for Preliminary and Final Approval.

       49.    No Knowledge of Other Claims.         Plaintiff acknowledges, represents, and

warrants that she has no current intention of asserting any other claims against Defendants in

any judicial or administrative forum.

       50.    Exhibits and Headings. The terms of this Agreement include the terms set forth

in any attached Exhibits, which are incorporated by this reference as though fully set forth

herein. Any Exhibit to this Agreement is an integral part of the Settlement. The descriptive

headings of any paragraphs or sections of this Agreement are inserted for convenience of

reference only and do not constitute a part of this Agreement.

       51.    Interim Stay of Proceedings. The Parties agree to stay all proceedings in this

Action, except such proceedings necessary to implement and complete the Settlement, in

abeyance pending the Final Approval/Settlement Fairness Hearing that may be conducted by

the Court.

       52.    Dismissal of the Action. Plaintiff, Opt-In Plaintiffs and Class Counsel agree to

seek dismissal of and use their best efforts to obtain dismissal of the Action with prejudice

after the Final Approval is ordered by the Court.

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       53.    Amendment or Modification. This Agreement may be amended or modified

only by a written instrument signed by counsel for all Parties or their successors-in-interest.

       54.    Entire Agreement. This Agreement and any attached Exhibits constitute the

entire Agreement among these Parties, and no oral or written representations, warranties or

inducements have been made to any Party concerning this Agreement or its Exhibits other

than the representations, warranties and covenants contained and memorialized in the

Agreement and its Exhibits.

       55.    Cooperation.     The Parties agree to cooperate fully with one another to
accomplish and implement the terms of this Settlement. Such cooperation shall include, but

not be limited to, execution of such other documents and the taking of such other action as

may be reasonably necessary to fulfill the terms of this Settlement. The Parties to this

Settlement shall use their best efforts, including all efforts contemplated by this Settlement

and any other efforts that may become necessary by Court order, or otherwise, to effectuate

this Settlement and the terms set forth herein.

       56.    Authorization to Enter Into Settlement Agreement. Counsel for all Parties

warrant and represent they are expressly authorized by the Parties whom they represent to

negotiate this Agreement and to take all appropriate actions required or permitted to be taken

by such Parties pursuant to this Agreement to effectuate its terms, and to execute any other

documents required to effectuate the terms of this Agreement. The Parties and their counsel

will cooperate with each other and use their best efforts to effect the implementation of the

Settlement. The person signing this Agreement on behalf of the Defendants represents and

warrants that he or she is authorized to sign this Agreement on Defendants’ behalf. Plaintiff

represents and warrants that she is authorized to sign this Agreement and that she has not

assigned any claim, or part of a claim, covered by this Settlement to a third party.

       57.    Execution by Settlement Class Members. The Parties agree that it is impossible

or impracticable to have each Settlement Class Member execute this Settlement Agreement.

The Notice will advise all Settlement Class Members of the binding nature of the release and

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such will have the same force and effect as if each Settlement Class Member executed this

Stipulation.

       58.     Binding on Successors and Assigns. This Agreement shall be binding upon,

and inure to the benefit of, the successors or assigns of the Parties hereto, as previously

defined.

       59.     Michigan Law Governs. All terms of this Agreement and the Exhibits hereto

and any disputes arising hereunder shall be governed by and interpreted according to the laws

of the State of Michigan.
       60.     Construction of Agreement. The Parties agree that the terms and conditions of

this Joint Stipulation of Settlement are the result of lengthy, intensive, arms-length

negotiations between the Parties and that this Stipulation will not be construed in favor of or

against any of the Parties by reason of their participation in drafting of this Stipulation.

       61.     Counterparts. This Agreement may be executed in one or more counterparts.

All executed counterparts and each of them shall be deemed to be one and the same instrument

provided that counsel for the Parties to this Agreement shall exchange among themselves

copies or originals of the signed counterparts.

       62.     This Settlement Is Fair, Adequate and Reasonable. The Parties believe this

Settlement is a fair, adequate and reasonable settlement of this Action and have arrived at this

Settlement after extensive arms-length negotiations, taking into account all relevant factors,

present and potential.

       63.     Jurisdiction of the Court.     The Parties agree that the Court shall retain

jurisdiction with respect to the interpretation, implementation and enforcement of the terms

of this Agreement and all orders and judgments entered in connection therewith, and the

Parties and their counsel hereto submit to the jurisdiction of the Court for purposes of

interpreting, implementing and enforcing the settlement embodied in this Agreement and all

orders and judgments entered in connection therewith.

       64.     Invalidity of Any Provision. Before declaring any provision of this Agreement

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invalid, the Court shall first attempt to construe the provisions valid to the fullest extent

possible consistent with applicable precedents so as to define all provisions of this Agreement

valid and enforceable.

       65.     Publicity. Class Counsel agrees not to issue a press release or other publication

disclosing the terms of this Settlement and agrees not to identify Defendants by name on their

biographies (including the biographies maintained on their website attorney profiles).

Notwithstanding the foregoing, for the limited purpose of providing adequacy as class counsel

in other actions, Class Counsel may identify the Case Number of the Action and terms of this

Settlement on the aforementioned biographies and reference the Action by name on any

declaration of Class Counsel in future litigation.
       66.     Waiver of Certain Appeals. The Parties agree to waive appeals and to stipulate

to class certification for purposes of this settlement only.

                                                     PLAINTIFF



Dated: _______________                               ________________________________
                                                     KENDRA BAKER



Dated: _______________                               ________________________________
                                                     KEVIN STOOPS
                                                     SOMMERS SCHWARTZ, P.C.
                                                     Attorney for Plaintiff and Opt-in Plaintiffs


                                                     DEFENDANTS GLOBAL RESPONSE
                                                     NORTH CORPORATION, GLOBAL
                                                     RESPONSE NORTH, LLC, and GLOBAL
                                                     RESPONSE, LLC


Dated: _______________                               ________________________________
                                                     For Defendants
                                                     Max Leuchter, President of Global
                                                     Response, LLC

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Dated: _______________        _______________________________
                              Christopher Trebilcock
                              CLARK HILL, PLC
                              Attorneys for Defendants




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Exhibit A
                                                   EXHIBIT A



      NOTICE OF PROPOSED CLASS/COLLECTIVE ACTION SETTLEMENT AND
                       FINAL APPROVAL HEARING
To:      All current and former hourly Customer Service Representatives who worked for Global Response North
         Corporation, Global Response North, LLC, or Global Response, LLC (“Global Response”) in Michigan at
         any time from July 12, 2018 through January 21, 2021.

                                    PLEASE READ THIS NOTICE CAREFULLY

THIS NOTICE MAY AFFECT YOUR LEGAL RIGHTS TO MONEY YOU MAY BE OWED IN CONNECTION
WITH YOUR EMPLOYMENT BY GLOBAL RESPONSE. IF YOU DO NOT WANT TO PARTICIPATE IN THE
SETTLEMENT, YOU MUST RETURN YOUR COMPLETED ELECTION NOT TO PARTICIPATE IN
SETTLEMENT FORM (“REQUEST FOR EXCLUSION”), DATED, SIGNED, AND POSTMARKED BY NOT
LATER THAN __________, 2022 [INSERT DATE 45 DAYS AFTER NOTICE], OR ELSE YOU WILL BE
BOUND BY THE SETTLEMENT.

IF YOU WISH TO RECEIVE A SHARE OF THE SETTLEMENT PROCEEDS, READ THE ENCLOSED CLASS
MEMBER SETTLEMENT INFORMATION SHEET AND CONFIRM THAT YOUR IDENTIFYING
INFORMATION AND THE INFORMATION ABOUT YOUR EMPLOYMENT WITH DEFENDANTS IS
CORRECT. IF IT IS CORRECT, YOU DO NOT NEED TO DO ANYTHING, AND YOU WILL RECEIVE YOUR
SHARE OF THE SETTLEMENT AT A LATER DATE IF THE COURT GRANTS FINAL APPROVAL OF THE
SETTLEMENT. IF THE CLASS MEMBER SETTLEMENT INFORMATION SHEET IS INCORRECT, RETURN
IT TO THE SETTLEMENT ADMINISTRATOR IN ACCORDANCE WITH THE INSTRUCTIONS IN THIS
NOTICE.

IF YOU WISH TO OBJECT TO THE SETTLEMENT, YOU MUST FOLLOW THE DIRECTIONS IN THIS
NOTICE.

PURSUANT TO THE ORDER OF THE U.S. DISTRICT COURT FOR THE WESTERN DISTRICT OF
MICHIGAN (THE “COURT”), ENTERED ON __________, 2022, YOU ARE HEREBY NOTIFIED AS
FOLLOWS:

WHAT IS THIS NOTICE ABOUT?

A proposed settlement (the “Settlement”) has been reached between Plaintiff Kendra Baker (“Plaintiff”) and
Defendant Global Response (“Defendants”), in the class action pending in the Court (the “Action”) brought on behalf
of the following individuals (the “Class”):

         All current and former hourly Customer Service Representatives who worked for Global Response
         North Corporation, Global Response North, LLC, or Global Response, LLC in Michigan at any time
         from July 12, 2018 through January 21, 2021.

The Court has preliminarily approved the Settlement and conditionally certified the Class for purposes of the
Settlement only. You have received this notice because Defendants’ records indicate that you are a member of the
Class. This notice is designed to inform you of how you can object to the Settlement or elect not to participate in the
Settlement. Unless you submit an election not to participate in the Settlement, the Settlement if finally approved by
the Court will be binding upon you.

WHAT IS THIS LAWSUIT ABOUT?

The Action, which is currently pending in the U.S. District Court for the Western District of Michigan (the “Court”),
is titled “Kendra Baker, individually and on behalf of all other similarly situated individuals, Plaintiff v. Global
Response North Corporation, Global Response North, LLC, and Global Response, LLC, Defendants,” No. 2:21-cv-
00073-JTN-MV.



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In the Action, Plaintiff alleges that Customer Service Representatives employed by Defendants in Michigan were not
paid for all of their work time including pre-, mid- and post-shift computer log-in/out time. Based on those allegations,
Plaintiff asserts claims under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq. and claims for common
law breach of contract and unjust enrichment. Plaintiff seeks the recovery of wages, overtime wages, liquidated
damages, interest, penalties, costs, attorneys’ fees, and other relief. Plaintiff sues on behalf of herself and all other
individuals allegedly similarly situated to her with respect to the claims asserted.

Defendants deny all of Plaintiff’s material allegations. Specifically, Defendants contend, among other things, that the
Customer Service Representatives were paid properly for all of their work time; that Plaintiff cannot recover under
the claims she has asserted; that Defendants acted in good faith with respect to the matters that Plaintiff alleges; that
a class could not be appropriately certified in the Action; and if a class were certified, Defendants’ defenses to
Plaintiff’s claims would be applicable to the claims of the class.

After good-faith negotiations presided over by a private mediator, in which both sides recognized the substantial risk
of an uncertain outcome, Plaintiff and Defendants agreed to settle the Action pursuant to the terms and conditions of
the Settlement.

The Settlement represents a compromise and settlement of highly disputed claims. Nothing in the Settlement is
intended or will be construed as an admission by Defendants that Plaintiff’s claims in the Action have merit or that it
has any liability to Plaintiff or the proposed class on those claims. On the contrary, Defendants deny any and all such
liability. Defendants reserve the right to object to any claim if for any reason the Settlement fails.

The parties and their counsel have concluded that the Settlement is advantageous, considering the risks and
uncertainties to each side of continued litigation. The parties and their counsel have determined that the Settlement is
fair, reasonable, and adequate and is in the best interests of the members of the Class.

                                     SUMMARY OF THE SETTLEMENT
To see if you will get money from this settlement, you first have to decide if you are a Class Member.

WHO IS INCLUDED IN THE SETTLEMENT?

You are included in the Settlement if you fall within the following definition:

         All current and former hourly Customer Service Representatives who worked for Global Response
         North Corporation, Global Response North, LLC, or Global Response, LLC in Michigan at any time
         from July 12, 2018 through January 21, 2021.


WHAT WILL I RECEIVE FROM THE SETTLEMENT?

1.       Defendants will pay $400,000.00 as the Gross Settlement Amount. Additionally, Defendants will pay any
         employer-side payroll taxes related to Individual Settlement Payments. The Gross Settlement Amount will
         fund all payments to be made under the Settlement.

2.       Out of the Gross Settlement Amount, Defendants will pay to each Class Member who does not submit a valid
         and timely Election Not to Participate (a “Settlement Class Member”) an amount that is calculated as follows:

                  The Settlement Administrator will calculate the total amount that each Settlement
                  Class Member will receive. The Settlement Administrator will divide the Net
                  Settlement Fund by the total number of pay periods Settlement Class Members
                  were employed (“Pay Period Amount”). The Settlement Administrator will
                  multiply the Pay Period Amount by the total number of pay periods that each
                  Settlement Class Member was employed during the Class Period to arrive at an
                  estimated Individual Settlement Amount. The Individual Settlement Amount will




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                 then be multiplied by the Net Settlement Amount to calculate each Settlement
                 Class Member’s estimated Individual Settlement Amount.

3.      A portion of the Individual Settlement Amount will be allocated toward resolution of the FLSA Claims. This
        payment is defined as the FLSA Settlement Payment and shall constitute 42.5 percent of the Individual
        Settlement Amount for each Class Member, as that percentage reflects the percentage of shifts that involved
        overtime for the Class Members.

4.      The “Net Settlement Amount” means the Gross Settlement Fund, less Class Counsel Award, Class
        Representative Service Awards, Settlement Administration Costs.

5.      Following the court-approved deductions from the Gross Settlement Amount, the remaining Net Settlement
        Amount will be paid out entirely to all Settlement Class Members pursuant to the formula set forth in
        paragraph 2 above. An approximation of your Individual Settlement Payment based on these assumptions
        appears on your Settlement Class Member Information Sheet accompanying this notice. Your actual
        Individual Settlement Payment may be more or less once awarded.

6.      The Individual Settlement Payments and other amounts awarded by the Court will be paid after final court
        approval of the Settlement, entry of the final judgment, and the exhaustion of all rights to appeal or review,
        or after any appeal or review has been resolved in favor of the Settlement.

7.      You will be included in the Settlement and receive your proportional share of the Settlement unless you
        complete and submit by the deadline of __________, 2022 [INSERT DATE 45 DAYS AFTER NOTICE], a
        Request for Exclusion form that is provided with this notice and in accordance with the conditions for
        submitting that Exclusion. If you do not complete and submit this form in accordance with the conditions
        for submitting that Exclusion, you will be bound by this Settlement and receive a Settlement Share.

8.      If ten percent (10%) or more of Settlement Class Members submit a valid Request for Exclusion, Defendants
        will have the right, but not the obligation, to void the Settlement and the Parties will have no further
        obligations under the Settlement, including any obligation by Defendants to pay the Gross Settlement
        Amount. If the actual number of Class Members exceeds the amount of Class Members identified by
        Defendants at mediation (470) by ten percent (10%) or more, Plaintiff shall have the sole and absolute
        discretion to terminate the Settlement.

9.      The Court has appointed Rust Consulting, to act as an independent Settlement Administrator and to resolve
        any dispute concerning the calculation of a Settlement Class Member’s entitlement to an Individual
        Settlement Payment.

10.     If you dispute the accuracy of any of the information used to calculate your Individual Settlement Payment,
        shown on your enclosed Settlement Class Member Information Sheet, you must ask the Settlement
        Administrator to resolve the matter. In order to do so, you must return your Settlement Class Member
        Information Sheet to the Settlement Administrator by the deadline of __________, 2022, informing the
        Settlement Administrator of the fact of the dispute and the basis for your contention that different information
        is correct for you (including any documentary evidence that you have to support your contention). In the
        event of such a dispute, Defendants will manually review their payroll and personnel records to verify the
        correct information. Defendants’ records will have a rebuttable presumption of correctness. After
        consultation with you, Class Counsel, and Defendants, the Settlement Administrator will make a
        determination of the correct information, and that determination will be final, binding on you and Defendants,
        and non-appealable.

11.     The Settlement includes a release, as of the date of the Judgment approving the Settlement, of Defendants
        and their affiliates and related entities, including, without limitation, their parents and subsidiaries,
        predecessors, successors, divisions, joint ventures and assigns, clients, and each of these entities’ past, present
        and/or future direct and/or indirect directors, officers, employees, partners, members, investors, principals,
        agents, insurers, co-insurers, re-insurers, shareholders, administrators, parent companies, subsidiaries,
        affiliates, divisions, predecessors, successors, assigns, attorneys and personal or legal representatives
        (“Released Parties”), from any and all failure to pay wage claims that have been alleged or that could have
        been alleged in the Action including all of the following claims for relief: (a) that Defendants failed to pay


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        and/or properly calculate all wages due, including the regular rate of pay, straight time, overtime, double-
        time, premium pay, minimum wages, and all other forms of wages; (b) that Defendants failed to provide
        compliant meal periods and/or proper premium payments in lieu thereof; (c) that Defendants failed to provide
        compliant rest breaks and/or proper premium payments in lieu thereof; (d) that Defendants failed to maintain
        required records; (e) that Defendants owe other monies or penalties under the wage and hour laws pleaded
        in the Action; and (f) that Defendants are responsible for the payment damages, penalties, interest and other
        amounts recoverable under said causes of action alleged in the Action, including without limitation the
        following claims based on or reasonably relating to claims asserted or alleged in the action: claims for unpaid
        wages (including claims for regular wages, overtime, regular rate calculations, gap time, off-the-clock or
        unpaid time, breaks), under the Fair Labor Standards Act, 29 U.S.C. §201, et seq., state wage and hour laws,
        and state common law breach of contract theories. The Released Claims also include all claims Plaintiff, Opt-
        In Plaintiffs and the Settlement Class Members may have against the Released Parties relating to (i) the
        payment and allocation of attorneys’ fees and costs to Class Counsel pursuant to this Agreement and (ii) the
        payment of the Class Representative Service Award pursuant to this Agreement. The period of the Release
        be from the commencement of the Class Period, as defined above, to July 13, 2021, the date of conditional
        certification.

        In addition to the claims enumerated above, each member of the Settlement Class who endorses his or her
        Individual Settlement Payment check by signing the back of the check and depositing or cashing the check
        shall release and forever waive any and all claims the Settlement Class member may have under claims
        asserted in the Complaint for violations of the Fair Labor Standards Act; and any and all claims for restitution,
        including without limitation back pay, attorneys’ fees and costs, interest, and liquidated damages under the
        FLSA (“FLSA Release”). Specifically, each check shall be affixed with the following endorsement:

                 By cashing this check, you are releasing any and all claims, rights, causes of action and
                 liabilities, whether known or unknown, for any and all types of relief under the Fair Labor
                 Standards Act, including without limitation claims for failure to pay minimum wage,
                 overtime, and for all hours worked, and any and all claims for recovery of compensation,
                 overtime pay, minimum wage, liquidated damages, interest, and/or penalties tied to such
                 claims, that arose or accrued at any time from July 12, 2018 through July 13, 2021, arising
                 from your employment with Global Response. Your release does not include, however,
                 any claims, rights, causes of action or liabilities that cannot be released as a matter of law.

12.     Class Representative Service Awards: In addition to their Individual Settlement Payment as a Settlement
        Class Members, Plaintiff Kendra Baker will seek approval from the Court for a payment of Class
        Representative Service Award in the amount of $4,000 for her time and effort in bringing and prosecuting
        this matter in exchange for the Released Claims and a General Release.

13.     Class Counsel Fees and Expenses Payment: Class Counsel have represented and continue to represent the
        Class on a contingency-fee basis. That means that attorneys’ fees are paid only if money is recovered for the
        Class. It is common to award attorneys’ fees as a percentage of the settlement amount negotiated by the
        attorneys for the class. As part of the final approval hearing, Kevin J. Stoops of Sommers Schwartz, P.C.,
        will request up to $133,333.33 for attorneys’ fees (33 1/3% of the Gross Settlement Amount) and up to
        $15,000.00 for litigation expenses incurred by Class Counsel (Sommers Schwartz, P.C.) in connection with
        this case. This amount constitutes full and complete compensation for all legal fees, costs and expenses of all
        Class Counsel, including costs and expenses resulting from experts and other vendors retained by Class
        Counsel in connection with the litigation and all work done through the completion of the litigation, whatever
        date that may be. Class Members will not be required to pay Class Counsel for any other attorneys’ fees,
        costs or expenses out of their own pockets if the Settlement Agreement and the fee request are finally
        approved by the Court. Class Counsel’s attorneys’ fees and expenses as approved by the Court will be paid
        out of the Gross Settlement Amount.

14.     Costs of Administration: The reasonable costs of administering the Settlement, including the Settlement
        Administrator’s fees and expenses, not to exceed $15,000.00, will be paid out of the Gross Settlement
        Amount.




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      15. Deadline to Cash Individual Settlement Payment Checks: Any Individual Settlement Payment checks
          that are not cashed within one-hundred-eighty (180) calendar days from the date of the mailing of the checks
          shall be cancelled and said cancellation shall not affect the validity of the Release of claims provided for
          herein and the Settlement Class Member shall be deemed to, nevertheless, be bound by the Release of claims
          provided herein. Any uncashed check proceeds will be allocated to Legal Aid of Western Michigan
          (https://lawestmi.org/).

16.       Plaintiff’s and Class Counsel’s Support of the Settlement: Plaintiff as Class Representative and Class
          Counsel support the Settlement. Their reasons include the risk of denial of class certification and a trial on
          the merits, the inherent delays and uncertainties associated with litigation, and the possibility that the Class
          is not entitled to any recovery. Based on their experience litigating similar cases, Class Counsel believes that
          further proceedings in this case, including a trial and probable appeals, would be very expensive and
          protracted. No one can confidently predict how the various legal questions at issue, including the amount of
          damages, would ultimately be resolved. Therefore, upon careful consideration of all of the facts and
          circumstances of this case, Class Counsel believe that the Settlement is fair, reasonable, and adequate.

WHAT ARE MY RIGHTS AS A CLASS MEMBER?

1.        Participating in the Settlement: Plaintiff as Class Representative and Class Counsel represent your
          interests as a Class Member. Unless you elect not to participate in the Settlement, you are a part of the Class,
          you will be bound by the terms of the Settlement and any final judgment that may be entered by the Court,
          and you will be deemed to have released the claims against Defendants and the other released parties
          described above. As a member of the Class, you will not be responsible for the payment of attorneys’ fees
          or reimbursement of litigation expenses unless you retain your own counsel, in which event you will be
          responsible for your own attorneys’ fees and expenses.

2.        Objecting to the Settlement: You may object to the terms of the Settlement before final approval.

                                           MAIL YOUR OBJECTION TO:

                                                     Clerk’s Office
                                   U.S. District Court, Western District of Michigan
                                                   399 Federal Bldg.,
                                                 110 Michigan St. NW,
                                                Grand Rapids, MI 49503



                    Baker v. Global Response North Corporation, et al., Settlement Administrator
                                                 Rust Consulting
                                                   _________
                                                   _________

CLASS COUNSEL                                                   DEFENDANTS’ COUNSEL

Kevin J. Stoops                                                 Christopher Trebilcock
SOMMERS SCHWARTZ, P.C.                                          Clark Hill
One Towne Square, Suite 1700                                    500 Woodward Ave., Suite 3500
Southfield, Michigan 48076                                      Detroit, MI 48226
Telephone: (248) 355-0300                                       Telephone: (313) 965-8575
Facsimile: (248) 436-8453                                       ctrebilcock@clarkhill.com
kstoops@sommerspc.com


                     DO NOT TELEPHONE THE COURT OR DEFENDANTS’ COUNSEL.

Any written objection must contain (1) the name and case number of this Action (or reasonable portion thereof), (2)
the full name, last four digits of their social security number, and current address of the Class Member making the

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Objection, (3) the specific reason(s) for the Objection, and (4) all evidence and supporting papers (including, without
limitation, all briefs, written evidence, and declarations) for the Court to consider.

Written objections to the Settlement must be mailed by not later than __________, 2022. [INSERT DATE 45 DAYS
AFTER NOTICE]

If you submit a timely written objection, you also may appear or appear through counsel of your choice, paid at your
own expense, and be heard at the time of the final approval hearing, if you wish to do so, but only if you indicate in
your objection that you intend to appear.

If the Court overrules your objection and you did not submit a timely and valid Request for Exclusion in the Settlement,
you will be bound by the terms of the Settlement and receive an Individual Settlement Payment.

Settlement Class Member Information Sheet: The enclosed Settlement Class Member Information Sheet provides
the information on which your Individual Settlement Payment will be calculated and an estimate of your Individual
Settlement Payment if all Class Members participate and all payment amounts are awarded; your actual Individual
Settlement Payment may be more or less. If the information in the Settlement Class Member Information Sheet
(including your mailing address) is correct, you need not return the form. If the information contained in the
Settlement Class Member Information Sheet is not correct, correct the information on the sheet and return it to the
Settlement Administrator. If you believe information is incorrect, state on the Settlement Class Member Information
Sheet what you contend is the incorrect information and (other than with respect to your name, your address, and the
last four digits of your Social Security number) include any documentation you have to support that contention. The
Settlement Class Member Information Sheet must be completed, signed by you, and returned to the Settlement
Administrator postmarked by not later than __________, 2022 [INSERT DATE 30 DAYS AFTER NOTICE]. It is
your obligation to keep the Settlement Administrator informed of any changes in your mailing address until your
Individual Settlement Payment is received, should final approval of the Settlement be granted. Failing to provide the
Settlement Administrator with any change of your mailing address may prevent you from receiving your Individual
Settlement Payment.

Excluding Yourself from the Settlement: If you do not wish to participate in the Settlement, you must complete the
enclosed Request for Exclusion. The Request for Exclusion must be completed, dated, signed by you, and returned to
the Settlement Administrator by not later than __________, 2022 [INSERT DATE 45 DAYS AFTER NOTICE] A
Class Member who fails to mail a Request for Exclusion in the manner and by the deadline specified above will be
bound by all terms and conditions of the Settlement, and will receive an Individual Settlement Payment, if the
Settlement is approved by the Court, and the Judgment, regardless of whether he or she has objected to the Settlement.

Any person who submits a complete and timely Request for Exclusion from the Settlement Administrator will, upon
receipt, no longer be a member of the Settlement Class and will not be eligible to receive an Individual Settlement
Payment, and he or she will not be included in calculating the Individual Settlement Payment of any other Settlement
Class Member. Any such person will retain the right, if any, to pursue at his or her own expense a claim against
Defendants. An incomplete or unsigned Request for Exclusion will be deemed invalid.

Consistent with Defendants’ policies, there will be no retaliation or adverse action taken against any Class Member
who participates in the Settlement or elects not to participate in the Settlement.

Settlement Administrator’s Address: If applicable, send your corrected Settlement Class Member Information
Sheet or your Request for Exclusion to the Settlement Administrator at the following address:

                   Baker v. Global Response North Corporation, et al., Settlement Administrator
                                                Rust Consulting
                                                  _________
                                                  _________

FINAL SETTLEMENT APPROVAL HEARING

The Court will hold a final approval hearing on __________, 2022, at ________ a.m., in Courtroom ___ of the U.S.
District Court for the Western District of Michigan, 399 Federal Bldg., 110 Michigan St. NW, Grand Rapids, MI


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49503, to determine whether the Settlement should be finally approved as fair, reasonable, and adequate. The Court
will also be asked to approve the requests for the Class Representative Service Award and the Class Counsel Fees and
Expenses Payment.

The hearing may be postponed without further notice to the Class. It is not necessary for you to appear at this
hearing. If you have submitted an objection and indicated that you intend to appear in the manner set forth
above, you may appear at the hearing and be heard.

GETTING MORE INFORMATION

The above is a summary of the basic terms of the Settlement. For the precise terms and conditions of the Settlement,
you are referred to the detailed Settlement Agreement, which will be on file with the Clerk of the Court and which
will be available upon request to the Settlement Administrator. The pleadings and other records in this litigation,
including the Settlement Agreement, may be examined at the, Clerk’s Office, U.S. District Court for the Western
District of Michigan, 399 Federal Bldg., 110 Michigan St. NW, Grand Rapids, MI 49503, during the Clerk’s normal
business hours; or you may contact Class Counsel or the Settlement Administrator.

          PLEASE DO NOT TELEPHONE THE COURT OR DEFENDANTS’ COUNSEL FOR
           INFORMATION REGARDING THIS SETTLEMENT OR THE CLAIM PROCESS.
         YOU MAY, HOWEVER, CALL ANY OF THE CLASS COUNSEL LISTED ABOVE OR
                          THE SETTLEMENT ADMINISTRATOR.

                                                                                        Dated: __________, 2022.
                                                                                          By Order of the Court




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               BAKER V. GLOBAL RESPONSE NORTH CORPORATION, et al.,
                  U.S. District Court for the Western District of Michigan
                                       No. 2:21-cv-73

                              CLASS ACTION SETTLEMENT
                           CLASS MEMBER INFORMATION SHEET

        DEFENDANTS’ RECORDS INDICATE YOU ARE A MEMBER IN THE
         CLASS DESCRIBED IN THE ENCLOSED NOTICE OF PROPOSED
       CLASS/COLLECTIVE ACTION SETTLEMENT AND FINAL APPROVAL
         HEARING. IF YOU WANT TO RECEIVE A SHARE OF THE CLASS
        ACTION SETTLEMENT, REVIEW THE INFORMATION BELOW TO
      CONFIRM THAT YOUR CONTACT AND PERSONNEL INFORMATION IS
                               CORRECT.

      IF THIS INFORMATION IS ACCURATE, DO NOT RETURN THIS SHEET:
       YOU AUTOMATICALLY WILL RECEIVE YOUR SETTLEMENT SHARE
           UNLESS YOU SUBMIT AN ELECTION NOT TO PARTICIPATE.

          IF THE INFORMATION BELOW IS NOT CORRECT, PROVIDE
        CORRECTED INFORMATION, DATE AND SIGN THIS FORM (AT THE
        BOTTOM OF THE PAGE), AND MAIL IT, POSTMARKED NOT LATER
                        THAN __________, 2022, TO:

          Baker v. Global Response North Corporation, et al., Settlement Administrator
                                       Rust Consulting
                                         _________
                                         _________


                             PERSONNEL INFORMATION FOR
                          CLASS MEMBER RECEIVING THIS NOTICE

1.   Your name:                                          _______________________________

2.   Your mailing address:                               _______________________________

                                                         _______________________________

3.   Last four digits of your Social Security
     number:                                             XXX-XX-____




LEGAL_US_W # 89231827.3
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4.   Total number of Pay Periods you worked
     for Defendants as an hourly Customer
     Service Representative in Michigan
     between July 12, 2018 and January 21,
     2021 (your “Pay Periods”):
                                                          _______________ Eligible Workweeks




5.   Your estimated Settlement Share:
                                                          $_______________


     IF ANY OF THE INFORMATION SHOWN ABOVE (NUMBERS 1 TO 5) IS NOT
      CORRECT, PLEASE SO INDICATE BELOW. IF YOU ARE DISPUTING ANY
      INFORMATION IN NUMBERS 4 TO 5 SHOWN ABOVE, STATE WHAT YOU
         BELIEVE TO BE THE CORRECT INFORMATION AND ATTACH ANY
            DOCUMENTATION THAT SUPPORTS YOUR CONTENTION.

     IF YOU DISPUTE THE AMOUNT OF YOUR PAY PERIODS WORKED BELOW,
       DEFENDANTS’ RECORDS WILL CONTROL UNLESS YOU ARE ABLE TO
       PROVIDE DOCUMENTATION TO THE CLAIMS ADMINISTRATOR THAT
        ESTABLISHES OTHERWISE AND THAT DEFENDANTS’ RECORDS ARE
      MISTAKEN. IF ANY DISPUTE CANNOT BE RESOLVED INFORMALLY, THE
      DISPUTE WILL BE RESOLVED BY THE SETTLEMENT ADMINISTRATOR.

                                       Corrected Information

1.   Your corrected name:                                      _______________

2.   Your corrected mailing address             ________________________________________
     (include telephone number, starting        ________________________________________
     with area code):
                                               __________________________________________

3.   Corrected last four digits of your                         XXX-XX-______
     Social Security number (you are not
     required to provide your entire Social
     Security number):
4.   Corrected number of Pay Periods you
     worked for Defendants as an hourly         ________________________________________
     Customer Service Representative in
     Michigan between July 12, 2018 and
                                                 2

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                                       Corrected Information
     January 21, 2021 (your “Pay
     Periods”):
        I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

        Dated: ______________ ___, 2022.

                                                    ____________________________________
                                                                  (Signature)

               PLEASE REMEMBER: IT IS YOUR OBLIGATION TO
                INFORM THE SETTLEMENT ADMINISTRATOR OF
           ANY CHANGE TO YOUR MAILING ADDRESS PRIOR TO YOUR
          RECEIPT OF YOUR SETTLEMENT SHARE. FAILURE TO UPDATE
           YOUR MAILING ADDRESS MAY PREVENT YOUR RECEIPT OF
                        YOUR SETTLEMENT SHARE.




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               BAKER V. GLOBAL RESPONSE NORTH CORPORATION, et al.
                  U.S. District Court for the Western District of Michigan
                                       No. 2:21-cv-73

           REQUEST FOR EXCLUSION FROM CLASS ACTION SETTLEMENT

            IF YOU WANT TO BE INCLUDED IN THIS CLASS ACTION
        SETTLEMENT AND RECEIVE YOUR SETTLEMENT SHARE, DO NOT
                          FILL OUT THIS FORM.

                 IF YOU DO NOT WANT TO BE INCLUDED IN THE
         SETTLEMENT, YOU MUST DATE AND SIGN THIS DOCUMENT AND
           MAIL IT BACK TO THE ADDRESS BELOW, POSTMARKED NOT
          LATER THAN __________, 2022 [INSERT 45 DAYS AFTER NOTICE
                                    DATE]:

           Baker v. Global Response North Corporation, et al., Settlement Administrator
                                       Rust Consulting.
                                          _________
                                          _________


        I have received the enclosed NOTICE OF PROPOSED CLASS/COLLECTIVE ACTION
SETTLEMENT AND FINAL APPROVAL HEARING and I wish to be excluded from the
Settlement Class and to not participate in the proposed Settlement. I understand this means that I
will not be bound by the settlement and will not share in the Settlement proceeds, but I will
retain the right, if any, to pursue a claim against Global Response North Corporation, Global
Response North, LLC, and Global Response, LLC with respect to the matters raised in the action
referenced above.

Typed or Printed Name:                         _______________________________

Address:                                        _______________________________

City, State, Zip Code:                          ________________________________

Telephone Number, Including Area Code:         ________________________________

Last four digits of Social Security number:    xxx-xx-_____________

Dated: _____________, ____.                   ____________________________________
                                              (signature)




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